                                                   Exhibit E

amylohrenz@gmail.com

From:                             Tammy Wilbur Hoistad <Tammy.WilburHoistad@corvias.com>
Sent:                             Friday, June 21, 2019 3:48 PM
To:                               amylohrenz@gmail.com
Subject:                          Follow Up


Mrs. Lohrenz,

I wanted to follow up our conversation about the move and cleaning of your items with an email. As discussed, I would
like to present you with three options so that you have choices about what you think is best for your family.

    1. Replace all of the items in your home. Based on an estimate, we would provide you a reimbursement cost of
       your items.
    2. Clean some, replace some. We can clean the items that you would like to keep and replace those that you are
       not comfortable with cleaning and returning to your home (this includes clothing).
    3. Clean all as discussed via CRDN for the textiles and REMTEC for the household goods and the house. Items that
       are not salvageable would not be cleaned and would be set aside.

As discussed, if we proceed with cleaning, we would arrange for start dates for both REMTEC and CRDN. Here are the
steps that I would put into place if cleaning is occurring. I would arrange for you and your family to be in a hotel or
AIRBNB as I know that there are dietary issues that make eating out not an option. I think that a week would be long
enough but if we needed to do longer we would base on the cleaning and delivery time of your items. Work would start
on a Monday. As I mentioned, REMTEC is not able to start until July 8. The PODS would arrive on Monday morning and
REMTEC would clean the PODS before starting to clean and pack your items. Each item that can be cleaned would be
cleaned and then packed in the POD. They anticipate that cleaning and packing would occur on Monday, Tues, Wed,
and Thursday. On Friday we would have testing done on the PODS to ensure clearance. If the PODS are not cleared,
they would clean the items again until clearance is achieved. The PODS would be moved over to LaFiere and
unpacked. REMTEC would continue on the remainder of the scope of work that relates to the home itself.

If you decide to replace all the items. You could have deliveries made to the new house and move directly into LaFiere.

If you decide to clean some and replace some, we can discuss if a hotel is needed based on the items being replaced or
cleaned.

Let me know if I left out any moving pieces that we talked about. I look forward to hearing your thoughts after being
able to digest the information. Shoot me over any questions or concerns.



Corvias
PROPERTY MANAGEMENT

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                  Case 5:22-cv-00044-M Document 18-5 Filed 03/08/22 Page 1 of 1
